IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
NO. 5:12-CV-69-H

ROSE LORENZO, On behalf Of
herself and all others
similarly situated,

Plaintiff,

ORDER

PRIME COMMUNICATIONS, L.P., a
Texas General Partnership,

Defendant.

This matter is before the court on defendant’s motion to
decertify or amend the Rule 23 class previously certified in this
action. On January 31, 2018, United States Magistrate Judge
Kimberly A. Swank filed a nmmorandum and recommendation (M&R)
recommending that Prime*s motion [DE #310] to decertify the Rule
23 class be denied and Prime’s motion to amend the Rule 23 class
be granted. Defendant objected to the M&R, and plaintiffs
responded. The parties also filed, as directed by Magistrate Judge
Swank, a joint notice regarding a proposed amendment to the class

definition.

Pursuant to Rule 72(b) of the Federal Rules of Civil Procedure

and 28 U.S.C. § 636, a district judge “must determine de novo any

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part cf the magistrate judge's disposition that has been properly

objected to.” See also Local Civil Rule 72.4, EDNC.

Section 636(b)(l) does not countenance a form of
generalized objection to cover all issues addressed by
the magistrate judge; it contemplates that a party's
objection to a magistrate judge's report be specific and
particularized, as the statute directs the district
court to review only “those _portions of the report
or specified proposed findings or recommendations to
which objection is made.”

United States v. Midgette, 478 F.3d 616, 621 (4th Cir. 200?)

 

(Citing 28 U.S.C. § 636(b)(1).)

Defendant objects to the M&R arguing that the Magistrate
Judge (l) failed to address the elements of Federal Rule of Civil
Procedure 23(b)(3), (2) incorrectly concluded that Rule 23's
commonality and typicality standards have been met by over-
simplifying the rigorous analysis of commonality and typicality
required in this matter, (3) failed to consider the merits of
plaintiff's North Carolina Wage and Hour Act “NCWHA” claims as
part of its class decertification decision, (4) should not have
relied on the passage of almost four years since certification of
the class as part of her reasoning for recommending denial; (5)
and failed to address defendant's argument that plaintiff is not
an adequate class representative. Defendant also notes it
incorporates its prior arguments from its prior notice of

objections [DE #475].

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The court finds these objections are without merit. Most of
the objections are conclusory. The court notes that class
certification questions are matters left to the sound discretion
of the court. Amchen Prods., Inc. v. Windsor, 521 U.S. 591, 630

(1997).

Regarding defendant's objection that the magistrate judge
failed to address the requirements of Rule 23(b), the M&R
specifically states that the court previously certified the class
based on Rule 23(b)(3) because “questions of law or fact common to
class members predominate over any questions affecting only
individual members and . . . a class action is superior to other
available methods for fairly and efficiently adjudicating the
controversy.” Fed. R. Civ. P. 23(b)(3). Moreover, the court finds
that the common questions of law and fact detailed with examples
in the M&R address the proper finding that this class meets the
requirements of Rule 23(b)(3), specifically the subscriber
management fee issues, the chargeback policy and wage deduction
policy issues, and advance notice issues. Furthermore,
defendant’s arguments regarding the lack of a trial plan are
without merit. There is no requirement for a trial plan prior to

certifying a class. Therefore, this objection is without merit.

Next, defendant objects to the magistrate judge’s finding

that Rule 23's commonality and typicality standards have been met.

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As stated in the prior paragraph, there exist common questions of
law that satisfy the commonality requirement and as plaintiff
Lorenzo's claims are typical of the claims of the class, that
requirement has been met as well. While no doubt there may be
some individual damage calculations required, this does not negate
the commonality or typicality finding, and in fact is common in
class actions. As stated by the magistrate judge, Lorenzo's claims

are not particular to her but rather are shared by the class.

The next objection argues it was error for the magistrate
judge to not consider the merits of the NCWHA claims in the motion
to decertify. However, a court should not engage in “free-ranging

merits inquiries.” Amgen, Inc. v. Connecticut Ret. Plans and Tr.

 

fund§, 568 U.S. 455, 466 (2013). Insteadr the merits are only
relevant for the purpose of determining whether the Rule 23
requirements are satisfied. £d. This conclusory objection is
wholly without merit as the magistrate judge properly considered

the merits to the extent required by Rule 23 and the caselaw.

Turning to Prime's fourth objection, the court finds the
magistrate judge also correctly considered the passage of time
since the original certification of the class as a factor in

considering whether to decertify. See, e.g., Hart v. Louisiana-

 

PaCific Corp., NO. 2:08-CV-47-BO, 2013 WL 12143171, at *l (E.D.N.C.

Mar. 29, 2013).

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Defendant's fifth objection is simply two sentences--arguing
that because Lorenzo's claims are not typical, she is also not a
proper class representative. Having previously found that her

claims are typical, this objection is without merit.

Finally, defendant incorporates its prior notice of
Objections. However, these objections were conclusory and the
court finds any additional objections contained therein to be

without merit.

Having found the objections to be without merit, the court
hereby finds the magistrate judge's recommendation to deny the
motion to decertify to be proper. A full and careful review of
the M&R and other documents of record convinces the court that the
recommendation of the magistrate judge is, in all respects, in
accordance with the law and should be approved. Therefore, Prime’s

motion to decertify the class is DENIED.

In the alternative, Prime moves to amend the class definition.
The magistrate judge recommended amendment, finding that amendment
of the class to exclude individuals not similarly situated would,
in these circumstances, best serve the ends of justice and promote
judicial efficiency and uniformity of decision. Courts have the
discretion to modify Class definitions as needed and amendment is

a “less drastic" measure to decertification. Chiang v. Veneman,

 

385 F.3d 256, 268 (3d Cir. 2004), abrogated 92 other grounds by I

 

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re Hydrogen Peroxide Antitrust Litig., 552 F.3d 305, 318 n.18 (3d
Cir. 2009); see In re Monumental Life Ins. Co., 365 F.3d 408, 414

(5th Cir. 2004).

The parties agree that amendment of the class definition is
appropriate.1 This court also agrees amendment is appropriate.
By order entered March 24, 2014, [DE #94], the class was defined

aS:

All natural persons employed by Prime Communications,
L.P., in retail stores and kiosks in the State of North
Carolina from February 18, 2010 to present who were paid
commissions or bonuses based on sales.

The parties were directed to confer and provide a joint notice
regarding the proposed amendment to the class definition. By
filing March 14, 2018, the parties inform the court they cannot
agree on a class definition, but each details the changes they
believe are appropriate. While plaintiffs do not explicitly state
a new proposed class definition, plaintiffs propose an end date
for the class to be modified to November 2013, the month in which
all employees were provided written notice of the change in Prime’s
compensation plan. They argue the February 18, 2010 date should

remain the same, asserting that the amended complaint, which added

 

lDefendant does not waive its argument that the class should be
de-certified, but if such motion is deniedr argues in the
alternative the class definition should be amended.

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the claims of class members, relates back to the original complaint

in February 2012.

Defendant seeks to limit the class definition to a time period
beginning two years prior to the filing of the amended complaint
and running until the time when arguably the pay structure changes
were implemented (prior to the November 2013 notice to employees).

Therefore, defendant proposes the following definition:

All natural persons employed by Prime Communications,
L.P., in retail stores and kiosks in the State of North
Carolina from May 4, 2010 to May 31, 2013 (for retail
sales employees) and from May 4, 2010 to September 30,
2013 (for retail store managers) who were paid
commissions or bonuses during that same period based on
point of sales transactions.

Having held in its recent order on the parties’ cross-motions
for summary judgment that Prime is entitled to summary judgment as
to any NCWHA claims arising from deductions made to commissions
for sales after November 2013, the court finds the end date for

the class definition to properly be November 30, 2013.

As to the beginning date, plaintiffs argue that the amended
complaint relates back to the original complaint filing date
because it is broad enough to encompass class claims relating back
to the initial filing date. To relate back there “must be a
factual nexus between the amendment and the original complaint.”

Grattan v. Burnett, 710 F.2d 160, 163 (4th Cir. 1983), aff'd, 468

 

U.S. 42 (1984). If there exists a factual nexus, the “amended

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claim is liberally construed to relate back to the original
complaint if the defendant had notice of the claim and will not be

prejudiced by the amendment.” Id. (citing Davis v. Piper Aircraft

 

Corp., 615 F.2d 606 (4th Cir.), cert. dismissed, 448 U.S. 911

(1980).

While plaintiff's original complaint did allege a uniform
policy and practice by defendant of violating both the FLSA and
the NCWHA, nowhere in the original complaint is there any mention
of her intention to bring this action on behalf of any class or
even the potential addition of any other plaintiffs. While the
class claims are obviously factually related to the original claims
of plaintiff Lorenzo, there is no evidence that defendant had
notice of the class nature of the claims. The court finds that
the first pleading which put defendants on notice that this was a
putative class action was not filed until May 4, 2012. Furthermore,
the court finds the defendant would be prejudiced if the court
allowed the class complaint to relate back to the filing date of
the non-class complaint. The statute of limitations under the
NCWHA is two years, N.C. Gen. Stat. § 95-25.23A; therefore the

earliest date for claims by the class would be May 4, 2010.

In accordance with the above findings, the court hereby grants
defendant’s alternative motion to amend the class definition and

redefines the class as follows:

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All natural persons employed by Prime Communications,
L.P., in retail stores and kiosks in the State of North
Carolina from May 4, 2010 to November 30, 2013 who were
paid commissions or bonuses during that same period
based on point of sales transactions.

CONCLUS ION

For the foregoing reasons, the court adopts the
recommendation of the magistrate judge as its own. Defendant’s
motion to decertify the class [DE #310] is DENIED and defendant’s

alternative motion to amend the class definition is GRANTED.

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'I'his 27 day of March 2018.

 

Malcolm J. Howar§//
Senior United St tes District Judge

At Greenville, NC
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